   Case 3:11-cv-03341-G Document 3 Filed 12/03/11                      Page 1 of 19 PageID 24



                          IN UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

NIGEN BIOTECH, LLC, a Nevada limited
liability company

        Plaintiff,                                             CIVIL ACTION NO. 3:11-cv-03341-G

VS.

GREGG ABBOTT, as the ATTORNEY
GENERAL OF THE STATE OF TEXAS

        Defendant.

                        PLAINTIFF'S FIRST AMENDED COMPLAINT

                                          INTRODUCTION

        This case is about the use of the letters "HCG" on the packaging and labeling of two

dietary supplement weight control products, Isodrene Weight Loss Solution with HCG Isolates

("Isodrene") and The HCG Solution ("The HCG Solution") (together the "Products"). It is

undisputed that 1) the Products are effective for weight control, 2) the Products properly are

labeled as dietary supplements, 3) that the ingredients in the Product are legal for sale, and 4) all

statements on the Product box and label are true. Nevertheless, Defendant has, in violation of

Plaintiff's constitutional rights, effectively stopped the sale of the Products in Texas by threats

and intimidation of Plaintiff s customers, including WalMart, Walgreens, and CVS.

        In a letter dated October 26, 2011, Defendant made two unsupported arguments that it

claims justify its illegal actions. First it says it is "false, misleading, or deceptive to advertise and

sell a dietary supplement whose name includes that of a prescription drug".

        Defendant's first argument fails for at least two reasons. A) If it is the position of the

State of Texas that the names of prescription drugs cannot be included on the label or in
   Case 3:11-cv-03341-G Document 3 Filed 12/03/11                  Page 2 of 19 PageID 25



advertising for anything but prescription drugs, thousands of foods, vitamins, and other products

would require immediate recall because there are a vast number of "prescription drugs" that also

are dietary supplement ingredients. Examples include all of the essential nutrients, such as iron,

potassium, calcium, and even something as common as sodium chloride (salt).

       B) The notion that a purchaser could be misled to believe that either Isodrene or The

HCG Solution contain a prescription drug is absurd. Both Products are clearly marked as

"Dietary Supplements." And both Products can be purchased by any consumer in a local

WalMart, grocery store, or other retailer off the shelf without a prescription. Therefore, no one

could believe the Products were or are prescription drugs.

        Defendant's second assertion in its letter that "using the term hCG on a weight loss

product, even with a disclaimer that hCG is not really in the product is false, misleading, or

deceptive since this claim is trying to mimic claims that FDA considers off-label for the

prescription drug" is baseless.

        Defendant's second argument fails because the packaging for both Isodrene and The

HCG Solution contain statements supporting the FDA's position that there is no proven weight

loss benefit to hCG. For example Isodrene's label clearly states "HCG has no proven weight

loss benefit."

        Instead of relying on hCG for their weight loss claims, the Products contain active weight

loss ingredients that have been clinically validated in double blind placebo controlled published

trials and have been reviewed by some of the world's leading experts in the obesity and weight

loss field. In fact, it is uncontested by Defendant that consumers of the Products are using

validated weight loss formulas.




PLAINTIFF'S FIRST AMENDED COMPLAINT - PAGE 2
    Case 3:11-cv-03341-G Document 3 Filed 12/03/11                  Page 3 of 19 PageID 26



        Defendant has no basis to prevent the sale of the Products in the State of Texas.

Nevertheless, Defendants has threatened Plaintiff and its customers with millions of dollars in

fines. As a result of the Defendant's threats, WalMart removed The HCG Solution from its

stores in Texas, and Walgreens removed Isodrene from its stores nationwide. Defendant's

actions violated the Plaintiff s constitutional rights and have caused significant damage to the

Plaintiff.

                          PARTIES, JURISDICTION, AND VENUE

         1.    Plaintiff is a Nevada limited liability company.

        2.     Gregg Abbott is the Attorney General of the State of Texas. He may be served

with process at 300 West 15th Street, 9th Floor, Austin, Texas.

        3.     This action is brought pursuant to the Interstate Commerce Clause of the United

States Constitution (Article 1 § 8), the Equal Protection Clause of the Fourteenth Amendment to

the United States Constitution, the Due Process Clause of the Fourteenth Amendment to the

United States Constitution, and the Free Speech Clause of the First Amendment to the United

States Constitution.

        4.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331, 1343,

1367, and 2201.

         5.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) as a substantial part

of the events or omission giving rise to the claim in this compliant occurred in the Northern

District of Texas.




PLAINTIFF'S FIRST AMENDED COMPLAINT - PAGE 3
    Case 3:11-cv-03341-G Document 3 Filed 12/03/11                  Page 4 of 19 PageID 27




                                   GENERAL ALLEGATIONS

ISODRENE AND THE HCG SOLUTION

       6.      Plaintiff manufactures, distributes, and sells Isodrene and The HCG Solution

throughout the United States. The Plaintiff sells both products in liquid and pill form.

       7.      Both products contain ingredients that that have been demonstrated in double

blind placebo controlled studies to cause weight loss.

       8.      The HCG Solution contains ingredients that have been proven in double blind

placebo controlled studies to cause weight loss. These ingredients are cissus quadrangularis,

caffeine, and green tea extract.

       9.      Isodrene contains ingredients that have been proven in double blind placebo

controlled studies to cause weight loss. These ingredients are ilex paraguariensis, paulinia

cupana, and turnera diffusa.

        10.    The Products' labels clearly state, as required by Federal law, that they each are a

"Dietary Supplement".

        11.    The labels for each Product contain only true claims.

HUMAN CHROIONIC GONATATROPIN

        12.    Human chorionic gonatatropin hormone ("hCG") is a naturally occurring

hormone found in the bodies of most pregnant women and is an ingredient in prescription drugs

sold under the brand names Noverel, Ovidrel and Pregnyl.

        13.    Isodrene and The HCG Solution contain the individual amino acid building

blocks of hCG, but neither contains the human chorionic gonadatropin hormone, as they are

labeled "100% Hormone Free", and may therefore be sold without a prescription.




PLAINTIFF' S FIRST AMENDED COMPLAINT - PAGE 4
    Case 3:11-cv-03341-G Document 3 Filed 12/03/11                Page 5 of 19 PageID 28




"HCG" DIET PLANS

       14.     In 1954, British endocrinologist Dr. A.T.W. Simeons published an article entitled

"Pounds and Inches: A New Approach to Obesity." In that article, Dr. Simeons advocated the

use of the hCG hormone combined with a special reduced calorie diet to induce significant

weight loss in obese individuals.

       15.     Popularity of the "HCG" diet spread and in the 1970's and 1980's in the United

States, numerous "HCG" products and "HCG Diet Plans" became popular. Today there are

countless "HCG" products and "HCG Diet Plans" available on the market.

        16.    HCG diet plans, which include very low calorie diets have been shown to be

effective in assisting people lose weight. However, there is no evidence that the combination of

hCG and very low calorie diets show any greater weight loss than very low calorie diets alone.

        17.    Today, the letters "HCG" and the phrase "HCG diet plans" are associated with

effective weight loss.

Formulation of Isodrene and The HCG Solution

        18.    Plaintiff developed Isodrene and The HCG Solution to be sold as dietary

supplements.

        19.    Plaintiff formulated Isodrene and The HCG Solution to contain the full spectrum

of hCG amino acid isolates found in the hormone. Both Isodrene and The HCG Solution

contain, in their pure form, all of the amino acids in the same proportions as the human chorionic

gonadatropin hormone, but remain completely hormone free.




PLAINTIFF'S FIRST AMENDED COMPLAINT - PAGE 5
   Case 3:11-cv-03341-G Document 3 Filed 12/03/11                  Page 6 of 19 PageID 29



       20.    The amino acid sequence of the alpha and beta subunits of the HCG variants was

determined in the 1970s. The alpha subunit contains 92 amino acids and the beta subunit

contains 145 amino acids as follows:

       Alpha-subunit:
       ala-pro-asp-val-gln-asp-cys-pro-glu-cys-thr-leu-gln-glu-asp-pro-phe-phe-ser-gln-pro-gly-
       ala-pro-ile-leu-gln-cys-met-gly-cys-cys-phe-ser-arg-ala-tyr-pro-thr-pro-leu-arg-ser-lys-
       lys-thr-met-leu-val-gln-lys-asn-val-thr-ser-glu-ser-thr-cys-cys-val-ala-lys-ser-tyr-asn-arg-
       val-thr-val-met-gly-gly-phe-lys-val-glu-asn-his-thr-ala-cys-his-cys-ser-thr-cys-tyr-tyr-his-
       lys-ser

       Beta-subunit:
       ser-lys-glu-pro-leu-arg-pro-arg-cys-arg-pro-ile-asn-ala-thr-leu-ala-val-glu-lys-glu-gly-
       cys-pro-val-cys-ile-thr-val-asn-thr-thr-ile-cys-ala-gly-tyr-cys-pro-thr-met-thr-arg-val-leu-
       gln-gly-val-leu-pro-ala-leu-pro-gln-val-val-cys-asn-tyr-arg-asp-val-arg-phe-glu-ser-ile-
       arg-leu-pro-gly-cys-pro-arg-gly-val-asn-pro-val-val-ser-tyr-ala-val-ala-leu-ser-cys-gln-
       cys-ala-leu-cys-arg-arg-ser-thr-thr-asp-cys-gly-gly-pro-lys-asp-his-pro-leu-thr-cys-asp-
       asp-pro-arg-phe-gln-asp-ser-ser-ser-ser-lys-ala-pro-pro-pro-ser-leu-pro-ser-pro-ser-arg-
       leu-pro-gly-pro-ser-asp-thr-pro-ile-leu-pro-gln

       KEY: ala=Alanine

              arg=Arginine

              asn=Asparagine

              asp=Aspartic acid

              cys=Cystenine

              glu=Glutamic Acid

              gln—Glutamine

              his=Histidine

              hyp=Hydroxyproline

              ileAsoleucine

              leu—Luecine

              lys=Lysine




PLAINTIFF'S FIRST AMENDED COMPLAINT - PAGE 6
   Case 3:11-cv-03341-G Document 3 Filed 12/03/11                    Page 7 of 19 PageID 30



               met=Methionine

               phe=Phenylalanine

               pro=Proline

                ser—Serine

               thr=Threonine

               tyr=Tyrosine

               val=Valine

        21.     The Products are formulated with the full spectrum of hCG amino acid isolates.

When a protein is ingested, a hormone called pepsin, contained in the stomach, begins to

fragment the protein into peptides. Enzymes in the pancreatic juice continue the peptide

digestion, and finally the peptidases split the peptides into their amino acid isolates that can be

absorbed. Since this is the process by which the hCG hormone would be digested, the Products

were formulated as a safe and bio-available means to obtain the same amino acid isolates.

        22.     Because the amino acids in Isodrene and The HCG Solution are in their pure form

in the same proportions as found in the hCG hormone, relative to their isolated amino acids, both

Isodrene and The HCG Solution are at least the functional equivalent of human chorionic

gonadatropin hormone when ingested orally.

        23.     In addition, the amino acids in Isodrene and The HCG Solution are in a form that

should be as, or more, bioavailable than that found in human chorionic gonadatropin hormone

ingested orally.

        24.     Isodrene and The HCG Solution products do not claim to contain the chorionic

gonadatropin hormone found in the prescription drugs Noverel, Ovidrel and Pregnyl. Nor do the

Products claim to be equivalents to the prescription drugs Noverel, Ovidrel and Pregnyl. Indeed,



PLAINTIFF'S FIRST AMENDED COMPLAINT - PAGE 7
   Case 3:11-cv-03341-G Document 3 Filed 12/03/11                                                                               Page 8 of 19 PageID 31



both Isodrene and The HCG Solution contain the prominently displayed disclaimer "100%

Hormone-Free."



ISODRENE AND THE HCG SOLUTION PACKAGING

       25.     The Isodrene packaging is as follows:




                                                                                                            IsoDrene- HCG          BOLA

                                                                                                                              .1cceme WM
                                                                                                              ommem




                isoDrena
                WEIGHT LOSS FORMULA-
                                                                       elin.q....litepedelleitate
                                                                       eltlevpseasnaaseLtEMIL.Bemanal
                                                                       onitelL,111.01.1..10.911askem.1.    IsoDrena
                                                                                                           WEfGRT LOSS FORMULA" .
                                                                                                                                                    Supplement Facts
                                                                                                                                                    .f.j.A la
                                                                                                                                                    BramiV001.31
                                                                                                                                                                                , r4, Lz

                                                                                                                                                    ..„...2,......,               •AB
                                                                       la,MINewegigmbol.0021wIlabaliz
                                                                       Esser.g/BOIM.002.11.78plaleills1=
                                                                                                                                 phis
                                                                       irpolos.1114MILIOdaselsepOdd.




                                                                                                                           HG
                                                                                                                                                            A      10
                                                                       B.1,11.0moBleal•Brn EN                                                        Wes                                  /
                                                                       13==:31,11.11=1=t,                                                           1[11.1.001AlspandOlt.                 A
                                                                       neetteseseaumeametnaret                                                      t  BIZB1= =MY.
                                                                                                                                                    I Aplealli-011.* elf AWL!. Lot
                                                                       NOIBIIIMIEGOMBIBIBBLEAMIL
                                                                                                                          ISOLATES
                                                                                                                                                    Iftwalsliftne• PialaAlpO aft M.
                                                                                                                                                    /1.1094....16.1
                                          AIE       OOD/BIBBVILOSS     SAtladakersirl,aa...IFIA.M. .1                       arawisaa.wogre-tas      ONVIOAMBI.1.119../ABILSOLIMABEI
                                          wpm:I t a caubnaton                                                             no,     aflaIIssto        BERIMBIlmLil.PaLkluin.P.MINI.

                                          nzt pragetnerespetnea                                                           top   ImImit Palma        MAME liBsc 40.1.1.7.1. As fage....15
                                           C4012. MOOBBBB MBA                                                                                       ...........0.stat.BOILIONIBLIM
                                                                                                                          Miura, Mil Ir.            en431.1...111...mealpadIsgaq.
                                            t501:Mili  tadeare                                                            taaere Asa     tle
                                            Intr. te mum arena                                                                                      IA Bealme...q.......1*.g..
                                                                                                                          scaturrd Inman MI=
                                             Fraeoltene wino arAl
                                    e       0311X03115 {LEG IsaME51.
                                            WIlle the 14CG tSs
                                                                                                           IsoDrene        raTaittcin Sid
                                                                                                                           carwrerCscliCG
                                                                                                                           "MVP KZ WItte
                 Il019.1. LIMB FORBILLO
                                             went a nonnizne means                                          - Mr           przvek nxrdlat. wens
                                                 InOdig   U111.11113                                                         Ingasting IDESZER.IM
                                             WEISITRIOVOUll IOW PDO                                                        •    2-4:00A MaittrOM
                                             LICO mnsmotico.4CO.                                                           I-CG =Pang., krA ras
                                             no prawn:IV-ha Imelt                                                          relitenstengtelm tam%        ma...L. r.i......11.......B.... B.
                                                                                                                                                        .......... ...i...       .......1....
                                                Dienpy Supplement                                                          D ;ota, Supprz,nt
                                                                            ww.lsoDreneosm                                                          IlnalLACalv..
                                             Wen BioTeck LI.0                                                              liGem BioTech; 11C       .....,,,,
                                             2 Rea It0.1                                                                   2ftopl00 0l              tWen BioTech7 LW
                                                                                                                                                    BALM BOMB


                            scww IsoDrene cons                                                                     wwwIsoDrene Cart                         wwlsoDrene.ccm




       26.     The only weight loss claim made regarding Isodrene Weight Loss Formula is that

"the active Isodrene weight loss compound is a combination of Ilex paraguariens, paullinia

coupuna, and turnera diffusa." This is a true statement.




PLAINTIFF'S FIRST AMENDED COMPLAINT — PAGE 8
    Case 3:11-cv-03341-G Document 3 Filed 12/03/11                                                                                       Page 9 of 19 PageID 32



       27.     The packaging for Isodrene also states: "Isodrene also includes the full spectrum

of human chorionic gonadatropin amino acid components ('HCG Isolates')". This is a true

statement.

       28.     In addition, Isodrene states "[w]hile the HCG isolates provide a bioavailable

means of ingesting the same amino acids that would occur from HCG consumption, HCG has no

proven weight loss benefit." This is a true statement.

       29.     The HCG Solution product's packaging is as follows:




                                                                                                                                     HCG
                                                                                                                                      NiGen BioTech7 LLC




                                                                                                                                      SOLUTION.




                                                                     Weight Loss                                                                                              Supplement Facts




                            CG                                                                                                            CG
                                                                                                                                                                              Serinpftettni

                                                                     Breakthrough?                                                                                            UM...01mm
                                                                                                                                                                                                               krej.P■   1.1


                                                                    0          Wye wee Ibere on TV you're read
                                                                                  rilmot them io mosafiEm nod ror the
                                                                               Intend. They're KG detplaus, and
                                                                    tImy've not to be the most courrovershd, promoted
                                                                    wr30O.hwoothollilme.fleofrnoelly
                                                                                                                                                                              M10,eenederesierg,
                                                                                                                                                                               eyeetlesoxiaMenlpu Ulm
                                                                                                                                                                               Cabin
                                                                                                                                                                               11-111.
                                                                                                                                                                               teatak faro
                                                                                                                                                                                                                NI e9         .




                                                                    a.m.& afro& and hondreds of eambinatime                                                                       LLUION
                                                                                                                                                                                   OAM
                                                                    florally administered socolled11CG products to he
                            SOLUTION.                               hurl flut doom: of them Trolly sorkf To tell,. Om
                                                                    truth, Afoot everymmert ofil ear 011off"oboolteelY
                                                                                                                                          SOLUTION_                                  1
                                                                                                                                                                                  1.4bee. ■
                                                                    nor, the reduced cilmie did rho mused the weight                                                              Wail
                            The NiGen                               lmo"or"rlfo wO3IrtlEs was the moult tithe placebo                       The NiGen                             1.011mMr
                                                                                                                                                                                  LORE
                                                                    Effect: Yor Uolodumounarbottomthth,noeoda M
                             Guarantee:                             meu and women swear beit... *tank youtfrinols.                           Guarantee:                           Lisp..
                                                                                                                                                                                  1 r fork sol
                                  not settle for substitutes           Bumf you're going to try an mei iamola autism                   Donut settle for substitutes               1,11ne.
                                                                    what all the fuss is about, make sore the from*                                                               Lbeere
                             or redacts claiming to lie                                                                                or products claiming to be                 1.41.1W.
                                                                    you choose is processed arecoding to Good                                                                     lJgerahl
                             "Hem.pathics" manufactured                                                                                "Homeopath& manufactured
                                                                    frkeuractorieg Practices (GMP) aedorade in the                                                                Imo.
                             from unauthorized animal pans.         USA Do not seelefar substitutes or products                        ftom unauthorized animal pans.             Looms,
                             NiGen Biorech guarantees that its      dahnthe lobe "HomeorEthia"oranufscorred                           bliGen BioTech guarantees that its          Lamb,
                                                                                                                                                                                  masa*
                               branded "IICG Solution" contains     from rmautbmiredorimal term.                                         branded "HCG Solution" contains      f Pave Delly1.160r boo. arEfOrokfiniet.
                                 the full spectrum of human            bliGen FOrTecr guarantees dim homded                                the full spectnun of human         13.1 thrf rootasetruta
                                                                    "HO; Sdolion" amteins the foll 'pear= oflounan                                                            sass.. nweessusa es
                                  chorionic gcmadotropin amino                                                                              chorionk getadotropin amino
                                  acid isolates derived from
                                                                    dmlionic goof dotroprormino add isalmes derived
                                                                    from certified grade my, moral:As Olm tem, Pere.
                                                                                                                                            add ischtes derived from          r lopen=agagenenneseresenrerseuenes
                                                                                                                                                                              =mentra    . ateleasyerrr4.1=re:
                                  certified grade raw materials     materishavollable) Elfrob en then M000feed                              certified grade raw materials
                                                                                                                                            (the very purest materials        semen.= mesiZigurligaryier4r"
                                                                                                                                                                                                          Twermeets.
                                  (the wary purest materials                     CrbfP (Good bloorfacturing Practice.%                                                        Nip., comma/me ,*
                                  available) which are then         is made in the T5A and is harnone free.For                              available) which me then
                                                                    ynor canomience,..11CG Diet Plea" reerurees are                                                           42:51:i El e+. alis. EpriFiE O.'. t
                                  processed according to GMP                                                                                processed according to GliP
                                                                    Enclosed.
                                  (Good Manufacturing Practice.),                                                                           (Good Manufactur(ng Practices),
                                  is mode in the USA. and             Thew etauma eel bee mole* belie Feed                                  is made in the USA. and
                                                                      a OtoaOaSotiOThhpO0oOue.I0,t.eded IO                                                                    Nreemeteeeseem.mansum
                                  is humane free. For rout                                                                   SOLUTION       is horrnone free. For your
                                  convenience, "IICG Diet Plan"
                                  resources are enclosed.               www.N G en 13 oTe c h.com
                                                                                                                                            convenieume, "ECG Diet Plan"
                                                                                                                                            resources are esclosed.
                                                                                                                                                                              a'r   l
                                                                                                                                                                                    e7'rEllF7F47. IS;:' Ff. S.4
                                                                                                                                                                                                              :4 11 .
                                                                                                                                                                              Ilwaily.410..rnrion.714.111.

                                 Dletary Supplement                                                                                               Dletary Supplement
                                                                                                                                                                              =AV... smo, ;Fiume.. eneiremr,
                                  NiGen BioTech; LLC                                                                                              NiGen BioTech7 LLC          ,     .WM1! OlUCI.4.11e, L,14110.1,711.870,6.
                                                                                                                                                                              7.1,1701.157■11■1=T=11
                                 1ff. oz. 130 001                                                                        100%                     1 IL oz. tan rrill
             100%                                                              7                                                                                              WM. me:pease...70W
                                                                                                                                                                              Le. empouiesnee melt. ma
             Hormone-Free                                                                                                Hormone-Free




PLAINTIFF'S FIRST AMENDED COMPLAINT — PAGE                                                           9
   Case 3:11-cv-03341-G Document 3 Filed 12/03/11                    Page 10 of 19 PageID 33



           30.    Although no express weight loss claim is made regarding The HCG Solution,

there is an implied weight loss claim as the letters "HCG" are associated with weight loss

products, and the product is sold in the weight loss section of retailers. To support the implied

weight loss claims, The HCG Solution contains ingredients that have been shown in clinical

published double blind placebo controlled studies to show significant weight loss.

           31.    The HCG Solution packaging states that it is "%100 Hormone Free" and therefore

does not contain human chorionic gonadatropin hormone; however, it does contain the full

spectrum of human chorionic gonadatropin amino acid isolates. That is a true statement.

           32.    The HCG Solution packaging states: "NiGen Biotech guarantees that its branded

'HCG Solution' contains the full spectrum of human chorionic gonadatropin amino acid isolates

derived certified grade raw materials (the very purest materials available) which are then

processed according to GMP (Good Manufacturing Practices), is made in the U.S.A. and is

hormone free." That is a true statement.

           33.    The HCG Solution Packaging also makes clear that there is a great deal of

controversy regarding the efficacy of "HCG diet plans":

           But do any of them really work? To tell you the truth, almost every expert will
           say either "absolutely not", "the reduced calorie diet plan caused the weight loss"
           or "the weight loss was the result of the placebo effect."

           34.    The HCG Solution contains a very low calorie diet plan and directs them to

additional HCG diet plan information on a website to assist consumers with their weight loss

efforts.

Accusations Regarding DTPA Violations

           35.    On October 26, 2011, the Office of the Attorney General of Texas sent Plaintiff a

letter (the "Letter").




PLAINTIFF'S FIRST AMENDED COMPLAINT - PAGE 10
   Case 3:11-cv-03341-G Document 3 Filed 12/03/11                     Page 11 of 19 PageID 34



         36.   The Letter alleges that Plaintiff's marketing of Isodrene and The HCG Solution

violates provisions of the Texas Deceptive Trade Practices-Consumer Protection Act, Tex. Bus.

and Com. Code § 17.41 et seq. (the "DTPA").

         37.   The Letter alleges that: "It is the State's opinion that it is false, misleading, or

deceptive to advertise and sell a dietary supplement whose name includes that of a prescription

drug."

         38.   If it is the position of the State of Texas that the names of prescription drugs

cannot be included on the label or in advertising for anything but prescription drugs, thousands

of foods, vitamins, and other products would require immediate recall because there are a vast

number of "prescription drugs" that also are dietary supplement ingredients. Examples include

all of the essential nutrients, such as iron, potassium, calcium, and even something as common as

sodium chloride (salt).

         39.    Furthermore, no purchaser would ever believe that the Products contain

prescription drugs when they can walk into a local WalMart, grocery store, or other retailers and

purchase the product off the shelf without a prescription. The Products are clearly marked

"Dietary Supplement"; thus, consumers know without a doubt that the Products do not contain

prescription drugs.

         40.    The Letter further alleges that "using the term hCG on a weight loss product, even

with a disclaimer that hCG is not really in the product, is false, misleading, or deceptive since

this claim is trying to mimic claims that FDA considers off-label for the prescription drug."

         41.    In fact the products advance the FDA's position with the following statement on

the advertising, box, and label:

         "HCG has no proven weight loss benefit."



PLAINTIFF' S FIRST AmENDED COMPLAINT - PAGE 11
  Case 3:11-cv-03341-G Document 3 Filed 12/03/11                     Page 12 of 19 PageID 35



and

       There are literally thousands of brands and hundreds of combinations of orally
       administered so-called HCG products to be had. But do any of really work? To
       tell you the truth, almost every expert will say either "absolutely not", "the
       reduced calorie diet plan caused the weight loss" or "the weight loss was the
       result of the placebo effect."

       42.     In any event, both Isodrene and The HCG Solution contain active weight loss

ingredients that have been clinically validated in double blind placebo controlled published trials,

and have been reviewed by some of the world's leading experts in the obesity and weight loss

field. Thus, consumers are purchasing validated weight loss formulas.

       43.     The Letter indicates that Plaintiff's actions, "at a minimum," violate Sections

17.46(b)(2), (5), (7), and (24) of the DTPA.

       44.     The Letter also indicates that: "It is also the State' s position that each sale of

NiGen's hCG-labeled products as dietary supplements or over-the-counter drugs into Texas is a

separate violation of the DTPA."

       45.     The Letter warns that the State may seek damages, including millions of dollars of

civil penalties and restitution of all money paid by purchasers of Isodrene and The HCG

Solution, an injunction, and attorney's fees, investigative fees, and costs.

       46.     Finally, the Letter states that "it is the State's position that NiGen cannot legally

advertise or sell its hCG-labeled products in Texas and that NiGen must stop advertising and

selling these products in Texas."

       47.     Contrary to the Defendant's position, Plaintiff does not sell HCG labeled products.

Instead, the Products are labeled as dietary supplements and truthfully state they contain the full

compliment of amino acids that make up human chorionic gonadotropin.




PLAINTIFF'S FIRST AMENDED COMPLAINT - PAGE 12
  Case 3:11-cv-03341-G Document 3 Filed 12/03/11                    Page 13 of 19 PageID 36



       48.     Based upon its claim that Isodrene and The HCG Solution product packaging

violates federal law, the Defendant intends to immediately remove Isodrene and The HCG

Solution from retailers' shelves across Texas and to stop the Plaintiff from selling the products

directly to Texas residents.

       49.     Plaintiff's product packaging does not violate Federal or Texas law. Accordingly,

the Defendant does not have any legal basis to seek removal of the products from Texas.

        50.    The Defendant contacted the Plaintiff's customers, including WalMart, CVS, and

Walgreens and threatened them with ruinous fines if they continued to sell the Plaintiff's

products.

        51.    As a direct result of the Defendant's threats, WalMart removed the HCG Solution

from shelves in Texas, and Walgreens removed Isodrene Weight Loss Formula with HCG

Isolates from its stores nationwide.

                                  FIRST CLAIM FOR RELIEF

                                       (Declaratory Judgment)

        52.    Plaintiff incorporates the above paragraphs herein.

        53.    There is a justiciable controversy based upon an accrued set of facts because the

Defendant has alleged that Plaintiff has violated Federal law, which alleged violation the

Defendant claims gives rise to a violation of the DTPA.

        54.     There is an actual conflict because Plaintiff disputes, among other claims,

Defendant's claims that Plaintiff has violated Federal law or the provisions of the DTPA.

        55.     The parties are adverse because Plaintiff and Defendant are in no way related to

one another.

        56.    Plaintiff has a legally protectable interest in defending its products.




PLAINTIFF'S FIRST AMENDED COMPLAINT - PAGE 13
   Case 3:11-cv-03341-G Document 3 Filed 12/03/11                     Page 14 of 19 PageID 37



       57.     The issue is ripe for adjudication because the Defendant has demanded that

Plaintiff cease selling Isodrene and The HCG Solution in Texas and has demanded that Plaintiff

remove the products from store shelves in Texas. The Defendant has also warned that it may

seek money damages should Plaintiff fail to comply with its demands.

       58.     Plaintiff is entitled to a declaratory judgment that its use of HCG in its product

packaging and labeling has not violated any federal law, and that Plaintiff is entitled to use the

letters HCG on its packaging and labeling for Isodrene and The HCG Solution.

       SECOND CLAIM FOR RELIEF—VIOLATION OF THE UNITED STATES
                            CONSTITUION

         First Amendment--Prior Restraint Doctrine, Commercial Speech Doctrine,
                        and Substantial Overbreadth Violations

        59.     Plaintiff incorporates the above paragraphs herein.

        60.     As applied by the Defendants to the Plaintiff's commercial speech, the DTPA is

an unconstitutional prior restraint in violation of the First Amendment. It also violates the First

Amendment commercial speech doctrine. Moreover, the DTPA is substantially overbroad in

violation of the First Amendment because it can be applied to violate the First Amendment rights

of others not before the court.

        61.     Specifically, the Defendant has banned the use of truthful advertising related to

lawful activities, which is protected by the First Amendment. Furthermore, the commercial

speech banned by the Defendant is not inherently misleading.

                  Fourteenth Amendment Due Process and Equal Protection

        62.     Plaintiff incorporates the above paragraphs herein.

        63.     Plaintiff has a constitutionally protected liberty interest in the free expression of

truthful commercial advertisements, unmolested by the Defendant. The Plaintiff has a right to




PLAINTIFF'S FIRST AMENDED COMPLAINT - PAGE 14
   Case 3:11-cv-03341-G Document 3 Filed 12/03/11                   Page 15 of 19 PageID 38



engage in lawful commerce through the marketing and sale of Plaintiff s lawful products (a core

business activity of Plaintiff, developed through an extraordinary investment of time and

money).

       64.     Plaintiff has a property interest in the intellectual property that forms the

Plaintiff s products, in its investments in advertising and market research, and in the revenue

derived from the manufacture and sale of Plaintiff s products.

       65.     The Fourteenth Amendment Due Process clause requires that the Defendant not

deprive Plaintiff of its property interests without due process of law. The Defendant's actions to

date have violated Plaintiff s right to due process of law.

       66.     Plaintiff accordingly seeks a declaration that Defendant's actions, including their

asserted claim that Plaintiff s products violate federal law, constitute a present and ongoing

violation of Plaintiff s Fourteenth Amendment Due Process rights.

       67.     Plaintiff has a constitutionally protected liberty interest in the free expression of

commercial speech and in its right to engage in commerce through the marketing and sale of

legal dietary supplements.

        68.    Defendant has violated Plaintiff s Fourteenth Amendment Due Process rights by

depriving Plaintiff of its liberty and property interests without due process of law by directly

causing retailers to remove the Products from store shelves without giving Plaintiff the

opportunity to defend itself in a court of law or via an administrative process.

        69.    Defendant's actions constitute an ongoing and a continuous violation of Plaintiff s

Fourteenth Amendment Due Process rights.

        70.    Similarly, Defendant's actions violate the equal protection afforded by the

Fourteenth Amendment because Defendant seeks to prohibit Plaintiff from using the letters HCG




PLAINTIFF'S FIRST AMENDED COMPLAINT - PAGE 15
   Case 3:11-cv-03341-G Document 3 Filed 12/03/11                    Page 16 of 19 PageID 39



in the advertising of a dietary supplement. Such unilateral prohibition violates the equal

protection clause of the Fourteenth Amendment because federal law allows for such use.

Numerous companies utilize the name of a dietary ingredients, i.e. iron, potassium, calcium,

water, etc. in the name of dietary supplements. By discriminating against Plaintiff for its use of

"HCG" in the promotion of the Isodrene and The HCG Solution, while allowing other companies

to use the name of prescription drugs in dietary supplement advertising, Defendant violates the

Fourteenth Amendment guarantee of equal protection.

       71.     Plaintiff therefore seeks a declaration that Defendant's actions constitute a

violation of Plaintiff s Fourteenth Amendment Equal Protection rights.

       72.     Plaintiff also is entitled to injunctive relief preventing Defendant from interfering

with the sale and/or distribution of the Products pending resolution of this dispute.

                                Violation of the Commerce Clause

        73.    Plaintiff incorporates the above paragraphs herein.

        74.    Under Article 1, Section 8 of the United States Constitution, the United States

Congress has the exclusive power and authority to regulate commerce among the several states.

        75.    The actions of the Defendant has substantially interfered with interstate commerce

in that it has caused retailers to stop selling lawful products in States other than Texas.

        76.    Defendant's actions have damaged the Plaintiff

        77.    Plaintiff therefore seeks a declaration that Defendant's actions constitute a

violation of Plaintiff s rights under the United States Constitution.

        78.    Plaintiff is also entitled to injunctive relief preventing Defendant from interfering

with the sale and/or distribution of the Products pending resolution of this dispute.




PLAINTIFF'S FIRST AMENDED COMPLAINT - PAGE 16
   Case 3:11-cv-03341-G Document 3 Filed 12/03/11                      Page 17 of 19 PageID 40




                                  THIRD CLAIM FOR RELIEF
                                      (Preliminary Injunction)

       79.     Plaintiff incorporates the above paragraphs herein.

        80.    Defendant seeks to remove Plaintiff s products from retailers' shelves throughout

Texas before obtaining any judicial determination that Plaintiff has in fact violated the DTPA.

        81.    If Defendant forces Plaintiff to remove the Products from the shelves in Texas

and to cease all distribution and marketing of its products in Texas, Plaintiff will suffer

immediate and irreparable harm.

        82.     Plaintiff is likely to prevail on the merits of its claims.

        83.     The benefit from a preliminary injunction outweighs any harm that might result

from such an injunction.

        84.     A preliminary injunction would be for the public good.

        85.     Therefore, a preliminary injunction should be issued enjoithng Defendant from

interfering with the sale and/or distribution of Plaintiff s products pending resolution of this

lawsuit.

                                 FOURTH CLAIM FOR RELIEF
                                       (Permanent Injunction)

        86.     Plaintiff incorporates the above paragraphs herein.

        87.     Plaintiff is entitled to a permanent injunction prohibiting Defendant from

interfering with the sale and marketing of its products in Texas while relying, as justification, on

any of the matters related to those raised in the Letter.

        WHEREFORE, Plaintiff prays for relief as follows:

        A.      For a Judgment declaring that Plaintiff is entitled to a declaratory judgment that

its use of HCG in its product packaging and labeling has not violated any Federal law or Texas



PLAINTIFF'S FIRST AMENDED COMPLAINT - PAGE 17
   Case 3:11-cv-03341-G Document 3 Filed 12/03/11                    Page 18 of 19 PageID 41



law, and that Plaintiff is entitled to use the letters HCG on its packaging and labeling for

Isodrene and The HCG Solution;

        B.     For a Preliminary Injunction enjoining Defendant from interfering with the sale

and/or marketing of Plaintiff s products in Texas pending the resolution of this case;

        C.     For an Injunction prohibiting Defendant from interfering with the sale and

marketing of Isodrene and The HCG Solution in Texas while relying, as justification, on an

alleged violation as alleged in the October 26, 2011 letter;

        D.     For attorney fees and costs of Court as may be allowed by law; and

        E.     For any other relief deemed appropriate by this Court.

        DATED this 3rd day of December, 2011.

                                               Respectfully submitted,

                                               WINSTEAD PC


                                               By:
                                                     THOMAS J. FcIRESTIER
                                                     Texas State Bar # 07256560
                                                     1100 Chase Tower
                                                     600 Travis Street
                                                     Houston, Texas 77002
                                                     (713) 650-2749 — Telephone
                                                     (713) 650-2400 — Facsimile
                                                     tforestier@winstead.com

                                                               and

                                                     KRISTIN L. SHERWIN
                                                     Texas State Bar #15062600
                                                     5400 Renaissance Tower
                                                     1201 Elm Street
                                                      Dallas, Texas 75270-2199
                                                     (214) 745-5392
                                                     (214) 745-5390 (Fax)
                                                     ksherwin@winstead.com




PLAINTIFF'S FIRST AMENDED COMPLAINT - PAGE 18
  Case 3:11-cv-03341-G Document 3 Filed 12/03/11     Page 19 of 19 PageID 42



                                          ATTORNEYS FOR PLAINTIFF
                                          NIGEN BIOTECH, LLC




PLAINTIFF'S FIRST AMENDED COMPLAINT - PAGE 19
